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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  Mahmoud KHALIL,

                 Petitioner,
                                                                Case No. 25-cv-01935
  v.

  Donald J. TRUMP, in his official capacity as
  President of the United States; William P. JOYCE,
  in his official capacity as Acting Field Office
  Director of New York, Immigration and Customs
  Enforcement; Caleb VITELLO, Acting Director,
  U.S. Immigration and Customs Enforcement; Kristi
  NOEM, in her official capacity as Secretary of the
  United States Department of Homeland Security;
  Marco RUBIO, in his official capacity as Secretary of
  State; and Pamela BONDI, in her official capacity
  as Attorney General, U.S. Department of Justice,

                 Respondents.




                       DECLARATION OF VERONICA R. SALAMA
I, Veronica R. Salama, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the
following is true and correct:
   1. My name is Veronica R. Salama. I am a licensed attorney in good standing in the state of
      New York. I am an attorney of record in the above-captioned case.
   2. I represent the petitioner, Mahmoud Khalil, in this action.
   3. I submit the following documents in support of Mr. Khalil’s motion for preliminary
      injunctive relief in this action:
           a. Attached hereto as Exhibit A is a true and correct copy of the Politico article by
              Amanda Friedman, titled “Rubio Defends Detainment of Columbia Activist, Says
              More Arrests Will Come,” published on March 16, 2025. I downloaded and saved
              this article in PDF format; it is also available at https://perma.cc/U3DR-KCPL.
           b. Attached hereto as Exhibit B is a true and correct copy of the NYTimes article by
              Luis Ferré-Sadurní and Hamed Aleaziz, titled “How a Columbia Student Fled to
              Canada After ICE Came Looking for Her,” published on March 15, 2025. I
              downloaded and saved this article in PDF format; it is also available at
              https://perma.cc/3YH3-5U5K.
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          c. Attached hereto as Exhibit C is a true and correct copy of the full transcript of an
             interview with Troy Edgar, the Deputy Secretary of the Department of Homeland
             Security, on NPR's Morning Edition on March 13, 2025. I downloaded and saved
             this transcript in PDF format; it is also available at https://perma.cc/N6QY-4PWF.
          d. Attached hereto as Exhibit D is a true and correct copy of the Associated Press
             article by Jake Offenhartz, titled “Immigration Agents Arrest Palestinian Activist
             Who Helped Lead Columbia University Protests,” published on March 9, 2025. I
             downloaded and saved this article in PDF format; it is also available at
             https://perma.cc/HPH9-T2SV.


Executed on March 17, 2025                         _______________________
New York, New York                                 Veronica R. Salama
                                                   Staff Attorney
                                                   New York Civil Liberties Union Foundation
